Case 19-01228-5-JNC        Doc 2 Filed 03/17/19 Entered 03/17/19 17:14:49              Page 1 of 7




                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

In Re:
                                                                Case No. 19-01228-5
CAH ACQUISITION COMPANY # 4, LLC,
d/b/a Drumright Regional Hospital,                                   Chapter 11

               Debtor.


              DEBTOR’S EMERGENCY MOTION FOR AND CONSENT TO
                   APPOINTMENT OF CHAPTER 11 TRUSTEE

         The Debtor, by and through its proposed counsel of record, requests that the Court

appoint Thomas W. Waldrep, Jr. as the Chapter 11 trustee in this case, pursuant to the provisions

of 11 U.S.C. § 1104(a)(2). In support of this motion, the Debtor states as follows:

         1.    The Debtor filed its voluntary Chapter 11 petition on March 17, 2019.

         2.    The Debtor owns and operates a critical access hospital in Drumright, Oklahoma.

         3.    Pending in this Court is the involuntary Chapter 7 bankruptcy case of the Debtor’s

related and affiliated entity, CAH Acquisition Company # 1, LLC, d/b/a Washington County

Hospital (case no. 19-00730-5-JNC), filed on February 19, 2019 and the voluntary Chapter 11

case of CAH Acquisition Company #3, LLC, d/b/a Horton Community Hospital (case no. 19-

01180-5-JNC), filed on March 14, 2019. Mr. Waldrep has been appointed as the interim trustee

in both cases and continues to serve in that capacity.

         4.    The Debtor is one of twelve (12) hospitals (including Washington County

Hospital) (collectively, the “CAH Hospitals”) with common ownership and integrated

management through a related entity, iHealthcare, Inc. Each of the CAH Hospitals is owned by

Health Acquisition Company, LLC (80% interest) and HMC/CAH Consolidated, Inc. (20%
Case 19-01228-5-JNC        Doc 2 Filed 03/17/19 Entered 03/17/19 17:14:49              Page 2 of 7




interest). Mr. Waldrep, as interim trustee in the Washington County Hospital case, continues to

utilize iHealthcare, Inc. in the management of the hospital.

       5.      Several of the CAH Hospitals are currently the subject of state court receiverships

in other states in which receivers have been appointed at the request of creditors or other parties

in interest. As a result of the appointment of the receivers, significant amounts of cash and

anticipated revenues for the CAH Hospitals are unavailable to fund the ongoing operations of the

CAH Hospitals.

       6.      In light of the deteriorating financial and operational status of the Debtor (and the

other CAH Hospitals), the Debtor has determined that it is the best interests of the Debtor, its

creditors, and other parties in interest (including patients) for Mr. Waldrep to also be appointed

as the Chapter 11 trustee in the Debtor’s case, subject to the Court’s approval. Therefore, the

Debtor requests and consents to the immediate appointment of Thomas W. Waldrep, Jr. as

Chapter 11 trustee in this case, pursuant to § 1104(a)(2) of the Bankruptcy Code.

       7.      Counsel for the Debtor has conferred with Mr. Waldrep about his appointment as

the trustee in this case, and Mr. Waldrep has agreed to such appointment.

       WHEREFORE, the Debtor consents to and requests that the Court appoint Thomas W.

Waldrep, Jr. as the Chapter 11 trustee in this case on an emergency, ex parte basis pending notice

and hearing to the extent required by the Court pursuant to § 1104(a) of the Bankruptcy Code.




Dated: March 17, 2019                         /s/ Rayford K. Adams III
                                              Rayford K. Adams III (NC Bar No. 8622)
Case 19-01228-5-JNC   Doc 2 Filed 03/17/19 Entered 03/17/19 17:14:49   Page 3 of 7




                                    SPILMAN THOMAS & BATTLE, PLLC
                                    110 Oakwood Drive, Suite 500
                                    Winston-Salem, North Carolina 27103
                                    Telephone: (336) 725-4710
                                    Facsimile: (336)725-4476Email:
                                    tadams@spilmanlaw.com
Case 19-01228-5-JNC      Doc 2 Filed 03/17/19 Entered 03/17/19 17:14:49           Page 4 of 7




                      UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                            GREENVILLE DIVISION

In Re:
                                                            Case No. 19-01228-5
CAH ACQUISITION COMPANY # 4, LLC,
d/b/a Drumright Regional Hospital,                              Chapter 11

              Debtor.


                              CERTIFICATE OF SERVICE

        I hereby certify that the foregoing DEBTOR’S EMERGENCY MOTION FOR AND
CONSENT TO APPOINTMENT OF CHAPTER 11 TRUSTEE was filed electronically in
accordance with the local rules and was served upon those listed in Exhibit A on the date set
forth by first class mail or by electronic service through CM/ECF.

Dated: March 17, 2019                      /s/ Rayford K. Adams III
                                          Rayford K. Adams III (NC Bar No. 8622)
                                          SPILMAN THOMAS & BATTLE, PLLC
                                          110 Oakwood Drive, Suite 500
                                          Winston-Salem, North Carolina 27103
                                          Telephone: (336) 725-4710
                                          Facsimile: (336)725-4476
                                          Email: tadams@spilmanlaw.com
Case 19-01228-5-JNC   Doc 2 Filed 03/17/19 Entered 03/17/19 17:14:49   Page 5 of 7




                               EXHIBIT A
Case 19-01228-5-JNC           Doc 2 Filed 03/17/19 Entered 03/17/19 17:14:49             Page 6 of 7




   VIA CM/ECF / E-MAIL
                                             Terri L. Gardner
                                         Nelson Mullins Riley &           Katherine M. McCraw
        Marjorie K. Lynch
                                            Scarborough, LLP            Assistant Attorney General
       434 Fayetteville St.
                                       4140 Parklake Avenue, Suite      N.C. Department of Justice
            Suite 640
                                                   200                     Post Office Box 629
       Raleigh, NC 27601
                                           Raleigh, NC 27612             Raleigh, NC 27602-0629
     Bankruptcy Administrator
                                         Counsel for Petitioning        Counsel for NC DHHS/DHB
                                                Creditors
      Thomas W. Waldrep, Jr.
            Waldrep LLP
   101 S Stratford Road, Suite 210
     Winston-Salem, NC 27104
               Trustee

   VIA U.S. MAIL

 CAH Acquisition Company # 4, Inc.
                                     Boyce & Bynum Pathology Lab         Cardinal Health - Pharm
  c/o Corporation Service Company,
                                             PO Box 7406                7920 Elmbrook Drive, #100
          Registered Agent
                                         Columbia, MO 65205                 Dallas, TX 75247
       10300 Greenbriar Place



         Cerner Corporation               City of Drumright              Creek County Treasurer
      2800 Rockcreek Parkway               122 W Broadway                317 East Lee Room 201
       Kansas City, MO 64117             Drumright, OK 74030               Sapulpa, OK 74066



           First Liberty                   iHelathcare, Inc.                  LGMG, LLC
       9601 N May Avenue             3901 NW 28th Street - 2nd Floor   11063-D S Memorial Dr. #483
     Oklahoma City, OK 73120               Miami, FL 33142                   Tulsa, OK 74133



                                        Medline Industries, Inc.
      McKesson Corp. - RX                                                       OG&E
                                             Dept. 1080
    1950 Stemmons Hwy #5010                                                  PO Box 24990
                                          PO Box 121080
        Dallas, TX 75207                                                Oklahoma City. OK 73124
                                          Dallas, TX 75312


                                                                         Psychiatric Medical Care
     Oklahoma Blood Institute         Oklahoma Tax Commission
                                                                             PO Box 305172
          Dept #960115                     PO Box 26920
                                                                                Dept. 141
     Oklahoma City, OK 73196          Oklahoma City, OK 73126
                                                                           Nashville, TN 37230
Case 19-01228-5-JNC         Doc 2 Filed 03/17/19 Entered 03/17/19 17:14:49      Page 7 of 7




                                    Rural Community Hospitals
    Reboot, Inc./HIPPA Guard               Of America                Shared Medical
        PO Box 775535                 Attn: Steven F. White       209 Limestone Pass
       Chicago, IL 60677                700 Chappell Road       Cottage Grove, WI 53527
                                      Charleston, WV 25304


  The Medical Protective Company        US Foodservice
       23289 Network Place              PO Box 973118
        Chicago, IL 60673               Dallas, TX 75397
